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    T]NITED STATES DISTRICT COURT, NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DTVISION

                                                                  1.17st-O9371
                                                                  Judge Sharon Johnson Coleman
                   ABDUL MOHAMMED,                                Magishate Judge Sheila M. Finnegan
                         PLAINTIFF,
                                                                       COMPL\INT WITH JURY DEMAND
                              vs.

             APPLE INC., a Caiifornia Corporation,

                         DEFENDANT,                                          r/F.ECEIVED
                                                                                          DEC   21    2017


                                      COMPLAINT AT LAW
                                                                                 c'E[',? U6:rBrE BY 18U',
Abdul Mohammed ("Plaintiff), individually, upofl personal knowledge of facts pertaining to him and
on information and beliet appearing Pro   Se,   brings this complaint against Apple Inc. ("Apple").



                                    NATURE OF THE ACTION

1. To induce consurners to purchase newer model iPhones, Apple purposefully throtded the
processing speed of iPhone 5s, iPhone 6, iPhone 6 Plus, iPhone 65, iPhone 65 Plus, iPhone SE, iPhone

7 and iPhone 7 Plus ("Affected iPhones"), intentionally making the phones unnecessarily slow at
ordinary tasks like opening apps, updating apps, loading webpages, and responding to inputs like
sctolling and swiping.


2. The slowness is tied, at least in part, to diminishing battery condition, which is a function of the

iPhone's age and use, the quality of design and manufacturing, and extemal conditions such             as

temperature. As Apple is awate, corlsurners do not ordinarily associate diminishing battery condition

with slower processing speeds. And iPhone users do not address the real issue by replacing the battery,
a solution that Apple intentionally obscures and deters. Instead, they puchase the new model iPhone

that seemingly nrns a lot faster and smoothsl-1h21 is, until the battery's condition triggers the
software   to throtde the phone again. Apple deprived Plaintiff of his Affected iPhone of             the
petformance to which it is entided.
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3.   Plaintiff brings this action on behalf himselt and alleges claims for Apple's violation of Illinois' and
consutner protection laws and ptohibitions on unfair and deceptive business practices, trespass to
chattels, breach of the covenant of good faith and fair dealing, andits violation of the Computer Fraud

and Abuse Act, 18 U.S.C. S 1030, to recover damages stemming from Apple's unlawfirl,
unconscionable, and intentional sabotage of older model iPhones.




                                     JURISDICTION AND VENUE
4. The Court has subject matter jurisdiction under 28 U.S.C. $ 1331 because Plaintiff asserts claims

arising undet the laws of the United States. The Court also has subject matter jurisdiction under 28

U.S.C. S 1332(d) because the amount in controversy exceeds $75,000, exclusive of interest and costs,

and Plaintiff and Defendant ate diverse parties. The Court also has personal jurisdiction over
Defendant because Plaintiffs claims arise out of Defendant's coritacts vrith the State of Illinois.


5.   At   all relevant dmes, Defendant conducted substantial business in the Northem District of Illinois.

A substantial part of the events and omissions giving rise to Plaintiffs claims occurred in this District.


                                                 PARTIES

6. Plaintiff Abdul Mohammed is resident        of the State of Illinois and resides in Naperviile, Illinois.
Plaintiff purchased an iPhone SE at an Apple Store in Naperville, Illinois in March 2076. Pnot to
purchasing his iPhone SE, Mohammed visited Apple's Store and discussed the phone                     with   a

representative from the Apple store. Ever since his phone was updated with iOS software version

70.2.7 in or atoundJanuary 2077, his phone has exhibited significantly slower processing speeds, apps

take longet      to open and update, the phone responds slowly to inputs and lags, and the overall
performance has detedorated substantially.


7. Defendant Apple Inc. is a Cdtforrria colporation headquartered in Cupertino, Califomia. Defendant

sells its iPhones in its own retail stofes located throughout the country, online, and also through    third
patties, such as AT&T, T-Mobile,      Yeizon   etc. Defendant eng;ineers and licenses to iPhone users iOS

software, the only operating system Apple permits on its devices.
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                                   FACTUAL BACKGROUND

8. Apple purposefirlly planted software designed to    inhibit the performance of older model iPhones
aftet new iPhone models wete introduced as part of a stiategy to induce its customers to purchase
newer iPhones.



9. Apple's iPhone 6 and iPhone 6 Plus wete released on September 19, 2074.        At the time of launch,
the iPhone 6 was available to those committing   to a2-year service contract for $199 (16GB vziant),
$299 (64G8 variant), and $399 (128 GB     vtiant), and was available off-conffact for $649.92 (16GB
var{ant), $749.91 (64G8 vaiant), and $849.90 (128 GB vaiant). The iPhone 6 Plus was available to

those committing to a Z-year sen ice conact for $299 (16GB variant), $399 (64G8 vadant), and $499

(128 GB vaiant), and off-contract for $749.76 (16GB vanant), $849.99 (64G8 vaiant), and $949.99

(128 GB vanant).



10. Apple's iPhone 65 and iPhone 65 Plus were released on September25,2075.        Atthe time of launch,
the iPhone 65 cost $649 (16GB vaiant),fi749 (64G8 vaiant), and $849 (128G8 variant), and the
iPhone 65 Plus cost $749 (16G8 variant), $849 (64GB variant), and $949 (128 GB variant).


11. Apple's iPhone 7 and iPhone 7 Plus were released on September 16, 2076.       At the time of launch,
the iPhone 7 cost $649 (32GB variant), $749 (12SGB variant), and $849 (256G8 vanant), and the
iPhone 7 Plus cost $749 (32G8 variant), $849 (128GB variant), and $949 (256GB vanart).


12. iOS is the operating system instdled on iPhones.



13.   On Ja;clnry 23,2077-four months after the launch of the iPhone 7 and iPhone 7 Plus-Apple
released iOS version 70.2.7. Shordy thereafter, iPhone users were notified th^t        update to iOS was
                                                                                  ^n
available. Apple represented as follows regarding the update:
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               ios   10.2.1
               Apple lnc.
               72.1M8

  iOS 10.2.1 includes txrg fixes and improves the security of your
  iPhono or iPad.


  For information on the s€curity content of Apple softwarc
  updates, pl6as6 visit this websit6:
  https://support.apple.com/en-gb / H72O1 222




14. Unbeknownst to iPhone SE, iPhone 6, iPhone 6 Plus, iPhone 65, and iPhone 6 Plus owners,              Apple
inserted code into the iOS version 10.2.7 that dramatically slowed down the processing performance

of these phones by linking each phone's processing performance with its battery health. Absent the
malicious code inserted by Apple, the reduced battery capaaty                of   these phones would   not have
affected processing performance.



15. Apple's iPhone 8 and iPhone               X wete     released on September 22,2077, and November    3,2077,
respectively.


16. On December 2,2017, iOS version 11.2.0 was released. Shordy thereafter, iPhone users were
notified that an update to iOS was available. Apple represented as follows regarding the update:
             os 11.2
             Apple lra.
             430.7 MB

  iOS 11.2 introducss Apple Pay Cash to send,
  raquest and receive money from friends and
  family with Apde Pay. This update also
  includes bug fixes and improvernents.

  For infonnation on the security content of
  Apple softwarc updates, please visit this
  website:
  https://support.apple.comlen-gbiHT201 222



17. Unbeknownst to iPhone SE, iPhone 6, iPhone 6 Plus, iPhone 65, iPhone 65 Plus, iPhone 7, and

iPhone 7 Plus owlrers, Apple inserted code into the iOS version 77.2.0 that &amatically sloured down

the processing performance of these phones by linking each phone's processing performance vrith its

battery health.
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18.   John Poole, co-founder of Primate Labs, connected Affected iPhone's slow CPU performance to
battery capaaty in cetain iOS software versions. Poole found that the petformance deterioration
atose when iOS soft'ware version 70.2.7 (or later) was installed in iPhone 6, iPhone 6 Plus, iPhone 63,

iPhone 65 Plus, and iPhone SE. Poole also found performance deterioration arose when iOS softwate

vetsion 77.2 (or later) was installed in iPhone 7 or iPhone 7 Plus.


19. Only after Poole's revelation did Apple admit that   it had been developing and inuoducing code to
its customers intended to throtde the processing speed of older versions of iPhones.


20. iPhones are powered by lithium-ion batteries. By nature, the capacity        of lithium-ion   batteries

degrades ovet time.



27.The processing speed of iPhones should not normally diminish as a function of battery caprciq.
As Poole observes, "V4hile v/e expect battery capacity to dectease as battedes age, we expect processor
performance to stay the same." On account of Apple's intentional conduct, once the battery condition
of Affected iPhones reaches a certain state, processing speeds slow dtamatically.


22. Apple secredy and without authodzation diminished the performance of Plaintiffs phone to
induce him to buy newer models. This triggering of older model iPhones with a switch that slows
processor speed to a ctawl is but one of the many ways Apple achieves this end. Apple employs othet

means    of accomplishing this end by delivering    softwate updates that   in other ways   unjustifiably
diminishes the performance of older model iPhones. This course of conduct is unfair, deceptive, in

bad faith, and injures Plaintiff, and unjusdy enriches Apple at their expense.



23. Platrnff installed iOS 10.2.1 on his iPhone SE, and as a tesult, his iPhone's performance
deteriorated substantially. Appr take unduly long    to open, update, and respond to inputs such as
swiping and scrolling lag. ITebsites crash and take too long to load. Plaintiff had not experienced such

deterioration until installing the update. The pedormance of Plaintiffs iPhone SE has not improved
with subsequent software installations. PlaintifPs iPhone SE novr runs iOS 77.2.0, and it still perfotms
in a deficient and deteriotated manner.
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                                                     CLAIMS

                                                    COUNT I
       ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

37 .   PlelLniff repeats and realleges all of the foregoing paragaphs as      if firlly set forth   herein.


38. The Illinois Consumer Fraud and Deceptive Business Practices               Act, 815    I11.   Comp. Stat. 505/2,
prohibits unfair methods of competition and unfair or deceptive acts or practices.


39. Apple's conduct, described above, in pqposefully hampering the speed and performance of older

iPhones, was unfair and deceptive. Apple unilaterally hampered perfotmance                    of Plaintiffs iPhone
without waming, nodce, ot the ability to opt out.


40. Wrhen Apple provided the software update with the inhibitory software,                it omitted this     matedal

fact from Plaintiff.


41. Apple's omission was material and deceptive. Reasonable consumers consider the processor speed

of theit iPhones to be a material aspect of their decision whether to buy a smartphone.


42. Apple's conduct was also unfair. Apple's conduct was immoral, unethical, oppressive, and
uns crupulous, and sub stantially in jured    Plaintiff.


43. Plaintiff suffered damage as a result of Apple's deceptive and unfait conduct. His iPhone's
processing speed has been significandy reduced, apps and programs perform poody. Plaintiff have

been deprived     of the benefit of his bargain and is left with substandard iPhone that petform worse
than they should.



                                                   COUNT II
                                      TRESPASS       TO CHATTELS

44.Pliniff     repeats and realleges all   of the foregoing paragraphs   as   if firlly set forth   hetein.



45. Apple's conduct described above, in purposefirlly hampering the speed and performance                     of oldet
iPhones, constitutes a trespass to chattels.
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46. Apple purposefrrlly installed software or a computer program intended to hamper the speed and

performance of Plaintiffs Affected iPhone.


47. Apple's conduct in hampering the speed and pedormance of Affected iPhone uras without

consent or exceeded the consent given by Plaintiff.



48. Plaintiff suffered damage as a result of Apple's trespass. Plaintiffs Affected iPhone's processing

speed has been significantly reduced, apps and programs perform poody.




                              COUNT III
        BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING

49. Plaintiff repeats and realleges all   of the foregoing paragraphs   as   if fi:lly   set   foth   hetein.



50. Plaintiff and Apple entered   into conffact.


51. Plaintiff has fully petfotmed his obligations under the contract.



52. Under Illinois law a covenant of good faith and fair dealing is implied into every contract.



53. Apple breached the covenant of good faith and fair dealing by engaging in the above described

conduct, purposefully hampering the speed and petformance of Plaintiffs Affected iPhone.


54. Apple's conduct was     willfi:l and intentional and committed with a pulpose of slowing down
Plaintiffs Affected iPhone to induce Plaintiff to buy new iPhones. Apple's conduct was unfair,
deceptive, and   in bad faith. It   gave iPhone users no notice and             left them with no               teasonable

alternatives.



55. Plaintiff suffered damage as a result of Apple's breach       of the covenant of good faith and fair
dealing. Plaintiffs iPhone's processing speed has been significandy reduced, apps and programs
perform poorly. Plaintiff have been deprived of the benefit of his bargain and is left with substandard
iPhone that perform worse than it should.
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                                        COUNT IV
                              COMPUTER FRAUD AND ABUSE ACT

56. Plaintiff repeats and realleges all of the foregoing paragraphs as          if firlly set forth   herein.



57. Apple's conduct described above,            in   purposefrrlly hampering the speed and performance            of
Plaintiffs Affected iPhone, constitutes     a   violation of the Consumer Fraud and Abuse Act.


58. Apple's conduct described above constitutes the intentional transmission                           of a program,
infotmation, code, or command that damaged Plaintiffs Affected iPhone.


59. Plaintiff suffered damage or loss by reason of Apple's violation of the Act because of the
impairment to the integdty and availability          of   data, program, systems, and information that resulted

from Apple's conduct. As a result of Apple's intentional acts, his Affected iPhone's processing
performance has been significandy reduced, and apps and othet programs perform poody. Plaintiff
have been deprived      of the benefit of his bargain and is left with substandard iPhone that perform
worse than it should.



                                     COUNT V
                     ILLINOIS COMPUTER CRIME PREVENTION LAW

60. Plaintiff repeats and realleges all   of the foregoing paragraphs      as   if firlly set forth   hetein.



61. Apple's conduct desctibed above, in purposefully hampering the speed and performance of
Palintiffs Affected iPhone, constitutes a violation of the Illinois Computet Cdme Prevention Law,
720 Il,. Comp. Stat. 5/77-51 because Apple, without authorization, or in excess of the authorization

granted by Plarnuff, inserted     or attempted to inset a program into his computer or computer
programs knovring or having reason to know that such program contains infotmation or commands

that will or may: (A) damage or desffoy that computer; (B) alter, delete, or remove             a   computer program
or data from that computer; or (C) cause loss to the users of that computer.
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62. Platnaff suffered loss by reason           of Apple's above described conduct. His iPhone's processing
speed has been significandy reduced, apps and programs perform poody. Plaintiff have been deprived

of the benefit of his bargain and is left with substandard iPhone that perform worse than it should.


                                                      COUNT VI
                    VIOLATION OF PROHIBITED ACTIYITIES - 18 U.S. Code                           S 1962



63. (a)     It   shall be unlawful for any pcrsen who has received any income derived, ditecdy ot indirecdy,

from a Dattern of racketeerins actiriw or throush collection of an unlawful debt in whrch such Derson
has participated as a principal       within the meaning of section 2, irJ,e 18, United States Code, to use or
invest, ditecdy or indirecdy,              p^rt of such income, ot the ptoceeds of such income, in acquisition
                                    ^fly
of    any interest     in, ot the establishment or operation of, any enteqprise which is engaged in, or the
activities ofwhich affect,interstate or foreign colntnerce. A putchase of securities on the open market

for purposes of investment, and without the intention of controlling or participaring in the conttol of
the issuer, or of assisting another to do so, shall not be unlawfirl under this subsection             if the securities
of the issuer held by the purchaser, the members of his immediate family, and his or theit accomplices
in anv Dattern or racketeerins activirv or the collection oian unlawful debt after such ourchase do not
amount in the aggregate to one percent of the outstanding securities of any one class, and do not
confer, either in law or in fact, the power to elect one or more directors of the issuer.
(b)   It   shall be unlawfrrl for anv Derson throush a Datteffl   of racketeerins acti\.'iw or throush collection
of an unlarvful debt to acquire or maintain, directly or indirecdy, any interest in or cofitrol of                  any

enterprise which is engaged in, ot the activities of which affect, intetstate or foreign corunerce.
(c)   It   shall be unlawfill for any pcrseg employed by or associated with any enterprise engaged in, or

the activities of which affect, interstate or foreign corrunerce, to conduct ot participate, direcdy or
indirectlv-       in the conduct of   such enteror-ise's affurs throush a Dattern of racketeerinE acrivirvor
collection of unlawful debt.
(d)   It   shall be unlawftrl for any pe$sn to conspire to violate any of the provisions of subsection (a),

(b), or (c) of this secdon.



64. Plajntrff repeats and realleges all       of the foregoing pamgraphs   as   if fully set forth   herein.
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65. The Defendant's unjust endchment as mendoned              in this complaint was also proceeds of cdme
and fraud from a pattem of racketeedng activity which the Defendant committed upon the Plaintiff.



66. The Defendant received income dedved, directly or indirectly, ftom a pattem of racketeer{ng
activitv.



67. The Defendant used and invested, di-recdy or indirecdy, part of derived income, ditecdy or
indirecdv- from   a Datteflr   of racketeerins activin': in acquisition of interest and the establishment and
operation od entetprise which is engaged in, or the activities of which affect, interstate or foreign
commerce.



68. The Defendant used the proceeds of crime and fraud mentioned in this complaint from a pattern

of tacketeering; to acquire or maintain, direcdy or indirecdy, interest in or conftol of an enterprise
which is engaged in, or the activities of which affect,interstate or foreign commerce.


69. The Defendant associated itself with an enterprise engaged          in, or the activities of which rffect,
intetstate or foreign cotilnerce, to conduct or participate, direcdy or indirecdy;        in the conduct of
such entemrise's affairs throush a Dattern      of racketeerins activin,.


                                          RELIEF REOUESTED

$7HEREFORE, Plaintiff, individually, respectfully requests that the Court enter ari Order:

a. Awarding    Plaintiff acfital, consequential, and incidental damages to be determined by the trier of
fac\

c. Awarding    Plaintiff punitive damages;

d. Awarding Plaintiff injunctive relief;


e.   Awarding Plaintiff pre- and post-judgment interest on all amounts awarded;

f. Awarding attorney fees (If the Plaintiff retains an Attomey in future for this Lawsuit), litigation
expenses, and costs of suit incured thtough the tdal and any appeals of this case; and




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g. Awarding PlarntiffJudgement against the Defendant, in the altemative for treble damages, treble
compensatory damages, teble punitive damages, and treble costs as per the provisions of 18 U.S.
Code $ 1962.

h. Enter and Iniunctive Order against the Defendant to cease manufactudng of all Apple
Ptoducts overseas and bdng back all the manufactudng units to United States so that the
United States Government and othet tegulatory authorities can have iurisdiction to conduct
inspection of its manufacturing units and its manufacturing ptactices in order to stop the
Defendants ftom futhet defrauding of the Plaintiff and other consumers within the United
States.

i. Granting such other and further relief as the Court deems just and proper.




                                               CERTIFICATION
    I, Abdul Mohammed, certifr that to the best of my knowledge, the claims raised herein are not
    the subject of arry othet action pending in any court or any arbitration proceeding, and no such

    other action or arbitration is contemplated.


    I   certi$, that the foregoing statemerits made by me are true and accurate to the best of my
    knowledge.   I am   zvrare that   if   any of the foregoing statements made by me are willfirlly false,   I
    am subject to punishment for pedury.



          Dated this 29th of December 2077.




                                                                 Abdul Mohammed, Pro      Se   Plaintiff

                                                                      258 East Bailey Rd, Apt C,
                                                                        Naperville,IL 60565




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